Case 4:95-cr-50061-BAF ECF No. 1027 filed 08/14/20   PageID.12124   Page 1 of 13




                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION


UNITED STATES OF AMERICA,

            Plaintiff,                      Case No. 95-cr-50061

      v.                                    Hon. Bernard A. Friedman

DION ERIC SAVAGE,

            Defendant.
                                    /

    GOVERNMENT’S RESPONSE TO [1025] DEFENDANT’S
   SUPPLEMENTAL MOTION FOR SENTENCE REDUCTION

      Savage rightly says that recent developments in Sixth Circuit case

law have clarified that he’s eligible for resentencing under the First

Step Act. But that’s all he’s right about, and it only means he’s eligible

to be resentenced as if the Fair Sentencing Act were in effect at the time

of his original sentencing. And he’d have been sentenced to life even if

the Fair Sentencing Act had been in effect then because he was

accountable for more than 100 kilograms of crack cocaine.

      What’s more, any similarly situated defendant would be sentenced

to life even today. Congress reserved—and requires—this

                                        1
Case 4:95-cr-50061-BAF ECF No. 1027 filed 08/14/20   PageID.12125   Page 2 of 13




unquestionably harsh punishment for violations of the Kingpin Statute.

Savage still refuses to accept responsibility for his crimes, going so far

as to perjure himself, but a jury and this court found otherwise. Calling

him a drug dealer, even—as is true—an armed drug dealer, sells him

short. He oversaw an extensive crack cocaine dealing operation for

years, reportedly selling thousands of dollars’ worth of drugs a day. The

properly calculated Guidelines range remains the same (Life), and he’s

asking for a substantial downward variance. He’s not reformed; he’s not

even sorry. Life imprisonment was the right sentence then, and it’s the

right sentence now.

                                       Respectfully submitted,
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                                      2
Case 4:95-cr-50061-BAF ECF No. 1027 filed 08/14/20   PageID.12126   Page 3 of 13




                           BRIEF IN SUPPORT

      The First Step Act defined “covered offense” for purposes of Fair

Sentencing Act retroactivity in a way that encompasses continuing

criminal enterprise convictions under 21 U.S.C. § 848(b). That makes

Dion Savage eligible for resentencing. But eligibility doesn’t equal

entitlement to a reduced sentence. United States v. Spearman, No. 91-

cr-50013, 2020 WL 4390632, at *4 (E.D. Mich. Aug. 1, 2020) (“Even if

the Court assumes that defendant is eligible for resentencing due to the

statutory change that affects his CCE conviction, he is not entitled to be

resentenced.”) (emphasis in original).

      The Court shouldn’t reduce Savage’s sentence for two reasons.

First, by its plain terms, the First Step Act authorizes the imposition of

a reduced sentence as if the Fair Sentencing Act was in effect at the

time of the original sentencing. But Savage would’ve been sentenced to

life if that act had been in effect.

      Second, even if the Court weren’t required by statute to impose a

life sentence, the reduction sought by Savage remains an unearned

windfall. Anyone who did today what he did from 1990-95 would be

sentenced to life. Savage, an unrepentant armed drug-dealing kingpin,
                                       3
Case 4:95-cr-50061-BAF ECF No. 1027 filed 08/14/20   PageID.12127   Page 4 of 13




committed perjury at his trial, denied responsibility at his sentencing,

and proved such a vexatious and frivolous litigant that the Sixth Circuit

sanctioned him. His Guidelines range today would still be life, and he

provides no plausible basis for his requested variance.

I.    Savage is eligible for resentencing but the applicable
      statutory penalties remain those set out in § 848(b).

      Savage makes much of this Court’s recent opinion in Spearman,

but its reasoning favors denial of his motion. The government agrees

with the defendant and this Court that the Sixth Circuit’s recent

Boulding opinion tethers eligibility to the statute of conviction, and §

848(b)’s penalties were “modified” by the Fair Sentencing Act. See

United States v. Boulding, 960 F.3d 774 (6th Cir. 2020). Savage

committed this offense before August 3, 2010. So we should proceed to

Section 404(b), which says that “[a] court that imposed a sentence for a

covered offense may, on motion of the defendant, … impose a reduced

sentence as if sections 2 and 3 of the Fair Sentencing Act of 2010 …

were in effect at the time the covered offense was committed.”

      If those sections of the Fair Sentencing Act of 2010 had been in

effect when Savage violated § 848, the continuing criminal enterprise

                                      4
Case 4:95-cr-50061-BAF ECF No. 1027 filed 08/14/20   PageID.12128   Page 5 of 13




would have had to “involve[]” at least 8.4 kilograms of crack cocaine to

support application of the statutory penalties set out in § 848(b). See 21

U.S.C. §§ 848, 841(b)(1)(B). Otherwise, he would have been sentenced

under § 848(a). But Savage’s offense involved more than 100 kilograms

of crack cocaine.

      Spearman hurts rather than helps Savage. This Court’s holding

that the defendant’s statutory penalties were determined on

resentencing by § 848(a) in that case was predicated on “assuming he

is responsible for 2.27 kilograms of crack cocaine, as the Court

found at sentencing.” Spearman, 2020 WL 4390632, at *5 (emphasis

added). The Court appropriately considered whether the quantity of

drugs for which the defendant was responsible would require him to be

sentenced under § 848(a) or (b) if the Fair Sentencing Act had been in

effect, and because 2.27 is less than 8.4, found that subsection (a)’s

penalties applied. See id.

      Until the First Step Act made it convenient to do so, Savage never

tried to argue that he was responsible for only 1.5 kilograms of crack

cocaine. Nor could he have, since more than that was seized from one of

his co-conspirators during a single traffic stop, and a cooperating
                                      5
Case 4:95-cr-50061-BAF ECF No. 1027 filed 08/14/20   PageID.12129   Page 6 of 13




witness testified to more than 100 kilograms. See PSR ¶¶ 20, 29. He

denied any involvement in drug dealing whatsoever, perjuring himself

at trial and carrying that denial through sentencing. But the district

court disagreed in no uncertain terms, telling him, among other things,

“You were involved in organizing, operating a large scale narcotics

trafficking operation, large amounts of crack cocaine were sold from

your party stores located in Flint. The conspiracy took place over

several years and you profited financially to a considerable extent from

your involvement in drug trafficking.” ECF No. 343, PageID.5954-55.

      At his sentencing, Savage objected to a range of paragraphs in the

PSR, including the one that attributed more than 100 kilograms of

crack cocaine to his organization, and the court overruled that objection.

ECF No. 343, PageID.5928-31. Application of § 848(b)’s penalties to

Savage required no jury finding as to quantity at the original

sentencing and requires no such finding now. See United States v.

Jones, 962 F.3d 1290, 1304 (11th Cir. 2020); United States v. White, 413

F. Supp. 3d 15, 42-47 (D.D.C. 2019); cf. Dillon v. United States, 560 U.S.

817, 828 (2010) (“[F]acts found by a judge at a § 3582(c)(2) proceeding

do not serve to increase the prescribed range of punishment”); United
                                      6
Case 4:95-cr-50061-BAF ECF No. 1027 filed 08/14/20   PageID.12130   Page 7 of 13




States v. Mercado-Moreno, 869 F.3d 942, 953–55 (9th Cir. 2017) (“In

those cases where a sentencing court’s quantity finding is ambiguous or

incomplete, a district court may need to identify the quantity

attributable to the defendant with more precision to compare it against

the revised drug quantity threshold under the relevant Guidelines

amendment. The Supreme Court indicated that such fact-finding was

permissible in Dillon.”).

      If the Fair Sentencing Act had been in effect at the time of

Savage’s sentencing, the statutory penalty that applied to his offense

would have been mandatory life in prison. The First Step Act

accordingly makes Savage, like all those convicted under § 848(b),

eligible for consideration based on the statute of conviction, but the

facts of his case prohibit the imposition of a reduced sentence. See

White, 413 F. Supp. 3d at 50 (“[S]entence reductions under Section 404

are expressly circumscribed by FSA’s section 2 or 3, and if those FSA

provisions have no effect on a defendant’s sentence, no sentence

reduction is available to award.”).




                                      7
Case 4:95-cr-50061-BAF ECF No. 1027 filed 08/14/20   PageID.12131   Page 8 of 13




II. Even if the Court could reduce Savage’s sentence, it
shouldn’t.

      No plausible version of the facts of this case justifies a finding that

Savage’s CCE involved less than 8.4 kilograms of crack cocaine. But

even if the Court considered Savage’s sentence under the relative

freedom provided by § 848(a)’s penalties—20 years to life—his motion

should be denied.

      Section 404(c) of the First Step Act makes clear that any sentence

reduction is discretionary, stating, “[n]othing in this section shall be

construed to require a court to reduce any sentence pursuant to this

section.” The statutory maximum would still be life. 21 U.S.C. § 848.

And it is obvious from the record that Savage would have been

sentenced to life imprisonment whether the necessary quantity was 1.5

kilograms or 8.4 kilograms. Similarly situated offenders facing

sentencing now would have to be sentenced to life. See Dorsey v United

States, 567 U.S. 260, 276-79 (2012) (expressing the importance of

consistency in sentencing similarly situated offenders when

determining the retroactive application of a statutory amendment).




                                      8
Case 4:95-cr-50061-BAF ECF No. 1027 filed 08/14/20   PageID.12132   Page 9 of 13




      Any sentence reduction would be a windfall not available to

Savage if he were tried for the same offense today, or really even if the

Fair Sentencing Act had been in effect at the time of his offense, when

he would still have been accountable for 300 times the quantity in

841(b)(1)(B). See United States v. Patterson, 2019 WL 3072705

(W.D.N.C. July 12, 2019) (denying discretionary relief to a defendant

who would have been prosecuted after the Fair Sentencing Act under a

provision mandating the same penalties he faced in his original

proceedings, so it would cause undue disparity to grant relief).

      For five years, Savage led a crack distribution organization from

party stores he owned in Flint. According to the PSR—which was

accepted by the court as accurate at sentencing—his enterprise involved

more than 100 kilograms of crack cocaine, selling thousands of dollars

of crack a day. Already a felon (with an assault and battery conviction,

too), Savage’s convictions at this trial included a gun possession

charge.1 He perjured himself at trial, denied any involvement in

criminal activity at sentencing, and maintains that denial to this day.


1    The later vacation of this conviction resulted from the
government’s concession that such action was required under Sixth
                                      9
Case 4:95-cr-50061-BAF ECF No. 1027 filed 08/14/20   PageID.12133   Page 10 of 13




      Savage approaches this Court with no apology, no suggestion that

he acknowledges made errors and learned from them, no assurance that

he is rehabilitated and unlikely to reoffend. He has earned his G.E.D.

and participated in “several educational programs” while in custody,

and he’s only been sanctioned four times. A progress report describes

him as “a dependable worker [who] requires little supervision.” ECF No.

1025, PageID.12114. And that’s it: a far cry from the kind of acceptance

of responsibility and profound demonstrated change that might warrant

the substantial leniency Savage seeks.

      He asks this Court for a 25-year sentence and says that’s within

the Guideline range. But it isn’t, and Probation’s memo doesn’t say it is.

§ 2D1.5 of the U.S. Sentencing Guidelines governs the calculation here.

That section cross-references § 2D1.1’s quantity table, and the quantity

involved in this offense triggers a level 38. Under § 2D1.5, that number

is added to 4, for a total offense level of 42. Adding two points for

obstruction of justice (based on perjury) brings the defendant to 44,




Circuit case law because the firearms were possessed more than three
years after Savage completed probation, not because he didn’t possess
the guns. ECF No. 443, PageID.7633.
                                      10
Case 4:95-cr-50061-BAF ECF No. 1027 filed 08/14/20   PageID.12134   Page 11 of 13




meaning his current, properly calculated Guideline range is life. Not

breaking the rules in prison is the minimum society has a right to

expect, not a basis for a substantial downward variance.

      And it bears repeating that Savage’s conduct satisfies the

elements of § 848(b) today. Any similarly situated defendant convicted

now would be sentenced to life in prison. Even defendants who didn’t

arm themselves, even those who were responsible for far less crack

cocaine, even those who accepted responsibility and expressed remorse,

would be subject to this mandatory penalty. Savage offers no reason

why he should be treated differently from others who conduct

themselves as he did. Nor does he attempt to explain how such a

discrepancy would be consistent with Congress’s clear intent in making

the Fair Sentencing Act retroactive—to reconcile the disparity between

those sentenced before the Act and those sentenced afterwards. It would

turn that goal on its head to instead afford greater relief, untethered to

any actual facts, to earlier offenders.




                                      11
Case 4:95-cr-50061-BAF ECF No. 1027 filed 08/14/20   PageID.12135   Page 12 of 13




                                 Conclusion

      For the foregoing reasons, the Defendant’s supplemental motion

for sentence reduction should be denied.

                                        Respectfully submitted,

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                                      12
Case 4:95-cr-50061-BAF ECF No. 1027 filed 08/14/20   PageID.12136   Page 13 of 13




                            Certificate of Service

      I certify that on August 14, 2020, I electronically filed this motion

for the United States with the Clerk of the United States District Court

for the Eastern District of Michigan using the ECF system, which will

send notification of such filing to the following:

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                                      13
